        Case 2:22-cv-02184-BWA-DPC Document 13 Filed 07/22/22 Page 1 of 3




                                    IN THE I.TNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                :t
MINERVA MARINE, [NC.                                                       NO. 2:22-CV-02 I 84-BWA-DPC

                                                                *
 VERSUS                                                         *          FED. R. CIV. P,9(h)
                                                                 tl.


 POSEIDON SERVICES               S.A.                           T          ADMIRALTY
                                                                *
't****:i***,1.+**rk:l.,i,i+,1.,F**rkr[*,F*!t**+*,F*,1.+*********'1.*{.,1.,tr,tt+*t*t*rk***,1.,t,1.,},1.****,t*'k**.,1.,}******.*
                                               GARNISHMENT ANSWERS

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned Notary Public, duly commissioned and qualified in and for the Parish                                    of
Orleans, State of Louisiana, personally came and appeared:

                                                  RANDI CRAWFORD
                                                   LEGAL LIAISON
                                               HANCOCK WHITNEY BANK


Comes now, HANCOCK WHITNEY BANK and for answer to the Writ of Garnishment upon it
served in the above styled and number cause, says as follows:


          In answer to Interrogatory No. l:
          No. Garnishee has record of a closed account in the name of Defendant, Poseidon
          Services S.A. with a zero ($0,00) balance which is not sufficient to satisfy the full
          amount of this garnishment in the amount of $519,769.59. Furthermore, according
          to our Deposit Agreement, all account balances are subject to our normal and
          customary service charges and all costs of these proceedings.

          ln answer to Interrogatory No. 2:
          See answer to Interrogatora No. 1.


          In answer to Interrogatory No. 3:
          Account No: 750462140 was located in the name of Poseidon Services S A., which is
          closed as of 04/30 t2021with a zero ($0.00) balance which is not sufficient to satisfy
          this garnishment.

          In answer to               No.4
          See answer   to Interrogatory No. 3.




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WHEREFORE, garnishee prays that this answer be deemed good and sufficient and for all
general and equitable relief.

                                      HANCOCK WHITNEY BANK
                                      P.O. Box 61260
                                      New Orleans, Louisiana 70161-1260
                                      (s04) 299-sls8




                                      BY
                                           RandiC
                                           LegalLiaison
                                                 .'"'ltLl!'.."t"'
                                                          -\
Sworn to and subscribed before me                    r\                               )-') .
this lgth day of July 2022.                                                            ,)-
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                      NOTARY PUBLIC                     p7i,r15'l r.
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                                               TE OF

A copy of the above and forgoing Garnishment Answers have been mailed to:

George A. Gaitas, Esq.
Gaitas & Chalos, P.C.
1908 N. Memorial Way
Houston, TX77007


this 19th day of July 2022




                                                                                            Randi




                                                a
40t97
               Case 2:22-cv-02184-BWA-DPC Document 13 Filed 07/22/22 Page 3 of 3

                                        Deposit Services - Legal

                                     P.O. Box 4019, Gulfport, MS 39502
                                  Phone: 504-299-5158 Fax: 504-586-3478
                                              t-800-448-8812
                                  depopslegalreview@hancockwhitnev.com




                                                July 19,2022


Clerk of Court
U.S. District Court for the
Eastern District of Louisiana
500 Poydras, Room C-151
New Orleans, LA 70130


             RE: MINERVA MARINE, INC. .VS
                 POSEIDON SERVICES S.A.
                 Case #: 2:22-cv-021 84-BWA-
                DoL #:    iolgt
Dear Sir or Madam:


   In compliance with the above referenced, enclosed please find our Garnishment Answers. If you have any
questions, please contact the Bank
                                                   Very truly yours



                                                    Hancock Whitney


Enclosures


cc: George A. Gaitas,   Esq.
    1908 N. Memorial WaY
    Houston, TX77007

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                                                                                           CLERK
